                 Case 24-12480-JTD             Doc 429       Filed 12/13/24        Page 1 of 8




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                               Debtors.                     (Jointly Administered)


                   NOTICE OF AGENDA FOR HEARING OF MATTERS
                 SCHEDULED FOR DECEMBER 17, 2024 AT 11:00 A.M. (ET)


                                          [Continued on Next Page]




1
     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
                   Case 24-12480-JTD     Doc 429      Filed 12/13/24    Page 2 of 8




     This proceeding will be conducted in-person. All counsel and witnesses are expected to
                     attend unless permitted to appear remotely via Zoom.

          Please refer to Judge Dorsey’s Chambers Procedures and the Court’s website
      (http://www.deb.uscourts.gov/ecourt-appearances) for information on the method of
          allowed participation (video or audio), Judge Dorsey’s expectations of remote
                     participants, and the advance registration requirements.

 Registration is required by 4:00 p.m. (Eastern Time) the business day before the hearing
       unless otherwise noticed using the eCourtAppearances tool available on the
                                     Court’s website.

       To attend this hearing remotely, please register using the eCourtAppearances tool
        (available here or on the Court’s website (http://www.deb.uscourts.gov/ecourt-
                                         appearances))

      YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM OR YOU
                 WILL NOT BE ALLOWED INTO THE MEETING.

ADJOURNED/RESOLVED MATTERS

1.       Debtors’ Motion for Entry of an Order Authorizing the (I) Retention of AP Services, LLC,
         (II) Designation of David Orlofsky as Chief Restructuring Officer, Effective as of the
         Petition Date, and (III) Granting Related Relief [D.I. 251, 11/26/24]

         Objection Deadline: December 10, 2024, at 4:00 p.m. (ET); extended for the United
                             States Trustee for the District of Delaware until December 12, 2024,
                             at 4:00 p.m. (ET)

         Related Documents:

             A. Certificate of Counsel Regarding Revised Proposed Order Authorizing the
                (I) Retention of AP Services, LLC, (II) Designation of David Orlofsky as Chief
                Restructuring Officer, Effective as of the Petition Date, and (III) Granting Related
                Relief [D.I. 428, 12/13/24]

         Responses Received:

             B. Informal Response from the Office of the United States Trustee for the District of
                Delaware

         Status:               A certification of counsel has been filed. A hearing is not required
                               unless the Court has questions or comments.




                                                  2
                Case 24-12480-JTD     Doc 429     Filed 12/13/24    Page 3 of 8




2.    Debtors’ Application for Entry of an Order (I) Authorizing the Retention and Employment
      of Ducera Partners LLC as Investment Banker to the Debtors Effective as of the Petition
      Date, and (II) Granting Related Relief [D.I. 258, 11/26/24]

      Objection Deadline: December 10, 2024, at 4:00 p.m. (ET); extended for the United
                          States Trustee for the District of Delaware until December 12, 2024,
                          at 4:00 p.m. (ET)

      Related Documents: None to date.

      Responses Received:

         C. Informal Comments from the Office of the United States Trustee

         D. Informal Comments from the Official Committee of Unsecured Creditors

         E. Informal Comments from the Ad Hoc Group of First Lien Lenders

      Status:               The matter has been adjourned to the omnibus hearing scheduled for
                            January 15, 2025.

3.    Debtors’ Application for an Order Authorizing Employment and Retention of Kroll
      Restructuring Administration LLC as Administrative Advisor, Effective as of the Petition
      Date [D.I. 253, 11/26/24]

      Objection Deadline: December 10, 2024, at 4:00 p.m. (ET); extended for the United
                          States Trustee for the District of Delaware until December 12, 2024,
                          at 4:00 p.m. (ET)

Related Documents:

         A. Certificate of No Objection Regarding Docket No. 253 [D.I. 425, 12/13/24]

      Responses Received: None.

      Status:               A certificate of no objection has been filed. A hearing is not
                            required unless the Court has questions or concerns.

4.    Debtors’ Application for Entry of an Order (I) Authorizing the Retention and Employment
      of Hilco Real Estate, LLC as Real Estate Consultant and Advisor for the Debtors, Effective
      as of the Petition Date; (II) Waiving Certain Requirements Imposed by Local Rule 2016-
      2; and (III) Granting Related Relief [D.I. 259, 11/26/24]

      Objection Deadline: December 10, 2024, at 4:00 p.m. (ET); extended for the United
                          States Trustee for the District of Delaware and the Official
                          Committee of Unsecured Creditors until December 12, 2024, at
                          4:00 p.m. (ET)

                                              3
               Case 24-12480-JTD    Doc 429      Filed 12/13/24    Page 4 of 8




     Related Documents:

        A. Certification of Counsel Regarding Revised Proposed Order (I) Authorizing the
           Retention and Employment of Hilco Real Estate, LLC as Real Estate Consultant
           and Advisor for the Debtors, Effective as of the Petition Date; (II) Waiving Certain
           Requirements Imposed by Local Rule 2016-2; and (III) Granting Related Relief
           [D.I. 426, 12/13/24]

     Responses Received:

        B. Informal Response from the Office of the United States Trustee for the District of
           Delaware

        C. Informal Response from the Official Committee of Unsecured Creditors

     Status:               A certification of counsel has been filed. A hearing is not required
                           unless the Court has questions or concerns.

5.   Debtors’ Third Omnibus Motion for Entry of an Order, Pursuant to Sections 105(a), 365(a),
     and 554 of the Bankruptcy Code Authorizing the Debtors to (I) Reject Certain Unexpired
     Leases as of the Rejection Date and (II) Abandon Personal Property [D.I. 271, 11/29/24]

     Objection Deadline: December 10, 2024, at 4:00 p.m. (ET)

     Related Documents:

        A. Certification of Counsel Regarding Revised Proposed Third Omnibus Order,
           Pursuant to Sections 105(a), 365(a), and 554 of the Bankruptcy Code Authorizing
           the Debtors to (I) Reject Certain Unexpired Leases as of the Rejection Date and
           (II) Abandon Personal Property [D.I. 412, 12/11/24]

     Responses Received:

        B. Informal Response from the Official Committee of Unsecured Creditors

     Status:               A certification of counsel has been filed. A hearing is not required
                           unless the Court has questions.




                                             4
               Case 24-12480-JTD     Doc 429     Filed 12/13/24    Page 5 of 8




MATTERS GOING FORWARD

6.   Debtors’ Application for an Order Authorizing the Retention and Employment of Petrillo
     Klein + Boxer LLP as Special Counsel to the Debtors and Debtors in Possession Effective
     as of the Petition Date [D.I. 252, 11/26/24]

     Objection Deadline: December 10, 2024, at 4:00 p.m. (ET); extended for the United
                         States Trustee for the District of Delaware until December 12, 2024,
                         at 4:00 p.m. (ET)

     Related Documents: None.

     Responses Received:

        A. Informal Response from the Office of the United States Trustee for the District of
           Delaware

     Status:               Item A has been resolved in principle, subject to further
                           documentation. The Debtors anticipate filing a certification of
                           counsel prior to the hearing.

7.   Motion of the Ad Hoc Group of Freedom Lenders for Entry of an Order (I) Terminating
     Exclusivity in the Holdco Debtors’ Cases, (II) Lifting the Automatic Stay in the Holdco
     Debtors’ Cases, or (III) Appointing a Chapter 11 Trustee for the Holdco Debtors [D.I. 192,
     11/20/24]

     Objection Deadline:     December 3, 2024 at 4:00 p.m. (ET)

     Related Documents:

        A. Declaration of Brett Bakemeyer in Support of the Motion of the Ad Hoc Group of
           Freedom Lenders for Entry of an Order (I) Terminating Exclusivity in the Holdco
           Debtors’ Cases, (II) Lifting the Automatic Stay in the Holdco Debtors’ Cases, or
           (III) Appointing a Chapter 11 Trustee for the Holdco Debtors [D.I. 193, 11/20/24]

        B. Notice of Hearing [D.I. 222, 11/22/24]

        C. Debtors’ Notice of Deposition of Irradiant Partners LP Pursuant to Rule 30(b)(6)
           of the Federal Rules of Civil Procedure [D.I. 265, 11/27/24]

        D. Debtors’ Notice of Deposition of Pacific Investment Management Company
           Pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure [D.I. 266,
           11/27/24]

        E. Debtors’ Notice of Deposition of Jon Levinson in Connection with the Motion of
           the Ad Hoc Group of Freedom Lenders for Entry of an Order (I) Terminating
           Exclusivity in the Holdco Debtors’ Cases, (II) Lifting the Automatic Stay in the


                                             5
   Case 24-12480-JTD        Doc 429     Filed 12/13/24    Page 6 of 8




   Holdco Debtors’ Cases, or (III) Appointing a Chapter 11 Trustee for the Holdco
   Debtors [D.I. 267, 11/27/24]

F. Debtors’ Notice of Deposition of Seth Zeleznik in Connection with the Motion of
   the Ad Hoc Group of Freedom Lenders for Entry of an Order (I) Terminating
   Exclusivity in the Holdco Debtors’ Cases, (II) Lifting the Automatic Stay in the
   Holdco Debtors’ Cases, or (III) Appointing a Chapter 11 Trustee for the Holdco
   Debtors [D.I. 268, 11/27/24]

G. Debtors’ Notice of Deposition to Gabriel Goldstein in Connection with the Motion
   of the Ad Hoc Group of Freedom Lenders for Entry of an Order (I) Terminating
   Exclusivity in the HoldCo Debtors’ Cases, (II) Lifting the Automatic Stay in the
   HoldCo Debtors’ Cases, or (III) Appointing a Chapter 11 Trustee for the HoldCo
   Debtors [D.I. 269, 11/27/24]

H. Declaration of Betsy L. Feldman in Support of Debtors’ Objection to Motion of the
   Freedom Lender Group for Entry of an Order (I) Terminating Exclusivity in the
   Holdco Debtors’ Cases, (II) Lifting the Automatic Stay in the Holdco Debtors’
   Cases, or (III) Appointing a Chapter 11 Trustee for the Holdco Debtors [D.I. 300,
   12/3/24]

I. Debtors’ Motion for Entry of an Order Authorizing the Debtors to Exceed the Page
   Limit Requirement for the Debtors’ Objection to Motion of the Freedom Lender
   Group for Entry of an Order (I) Terminating Exclusivity in the Holdco Debtors’
   Cases, (II) Lifting the Automatic Stay in the Holdco Debtors’ Cases, or
   (III) Appointing a Chapter 11 Trustee for the Holdco Debtors [D.I. 301, 12/3/24]

J. Declaration of Daniel A. Fliman in Support of Objection of the Ad Hoc Group of
   First Lien Lenders to the Motion of the Ad Hoc Group of Freedom Lenders for
   Entry of an Order (I) Terminating Exclusivity in the Holdco Debtors’ Cases,
   (II) Lifting the Automatic Stay in the Holdco Debtors’ Cases, or (III) Appointing a
   Chapter 11 Trustee for the Holdco Debtors [D.I. 302, 12/3/24]

K. Ad Hoc Group of Freedom Lenders’ Motion for Leave to File and Serve Late
   Replies in Support of their Motions: (1) for Entry of an Order (I) Adjourning the
   Second Day Hearing Set for December 10, 2024, (II) Extending the Objection
   Deadlines in Connection with the Second Day Hearing and (III) Granting Related
   Relief, and (2) for Entry of an Order (I) Terminating Exclusivity in the Holdco
   Debtors’ Cases, (II) Lifting the Automatic Stay in the Holdco Debtors’ Cases, or
   (III) Appointing a Chapter 11 Trustee for the Holdco Debtors [D.I. 366, 12/6/24]

L. Debtors’ Exhibit List for Second Day Hearing Set for December 10, 2024 [D.I. 371,
   12/9/24]

M. Debtors’ Amended Exhibit List for Second Day Hearing Set for December 10, 2024
   [D.I. 386, 12/9/24]



                                    6
          Case 24-12480-JTD      Doc 429        Filed 12/13/24   Page 7 of 8




Responses Received:

   N. The Official Committee of Unsecured Creditors’ Response to Motion of the Ad
      Hoc Group of Freedom Lenders for Entry of an Order (I) Terminating Exclusivity
      in the Holdco Debtors’ Cases, (II) Lifting the Automatic Stay in the Holdco
      Debtors’ Cases, or (III) Appointing a Chapter 11 Trustee for the Holdco Debtors
      [D.I. 294, 12/3/24]

   O. Debtors’ Objection to Motion of the Freedom Lender Group for Entry of an Order
      (I) Terminating Exclusivity in the Holdco Debtors’ Cases, (II) Lifting the
      Automatic Stay in the Holdco Debtors’ Cases, or (III) Appointing a Chapter 11
      Trustee for the Holdco Debtors [D.I. 298, 12/3/24]

   P. Objection of the Ad Hoc Group of First Lien Lenders to the Motion of the Ad Hoc
      Group of Freedom Lenders for Entry of an Order (I) Terminating Exclusivity in the
      Holdco Debtors’ Cases, (II) Lifting the Automatic Stay in the Holdco Debtors’
      Cases, or (III) Appointing a Chapter 11 Trustee for the Holdco Debtors [D.I. 299,
      12/3/24]

   Q. Omnibus Reply of the Ad Hoc Group of Freedom Lenders in Support of Its Motion
      for Entry of an Order (I) Terminating Exclusivity in the Holdco Debtors’ Cases,
      (II) Lifting the Automatic Stay in the Holdco Debtors’ Cases, or (III) Appointing a
      Chapter 11 Trustee for the Holdco Debtors [D.I. 365, 12/6/24]

Status:         This matter is going forward.

                                [Signature Page Follows]




                                         7
            Case 24-12480-JTD     Doc 429    Filed 12/13/24   Page 8 of 8




Dated: December 13, 2024
       Wilmington, Delaware

                                YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                /s/ Allison S. Mielke
                                Edmon L. Morton (Del. No. 3856)
                                Matthew B. Lunn (Del. No. 4119)
                                Allison S. Mielke (Del. No. 5934)
                                Shella Borovinskaya (Del. No. 6758)
                                Rodney Square
                                1000 North King Street
                                Wilmington, Delaware 19801
                                Telephone: (302) 571-6600
                                Facsimile: (302) 571-1253
                                emorton@ycst.com
                                mlunn@ycst.com
                                amielke@ycst.com
                                sborovinskaya@ycst.com

                                -and-

                                WILLKIE FARR & GALLAGHER LLP
                                Debra M. Sinclair (admitted pro hac vice)
                                Matthew A. Feldman (admitted pro hac vice)
                                Betsy L. Feldman (Del. No. 6410)
                                Joseph R. Brandt (admitted pro hac vice)
                                787 Seventh Avenue
                                New York, New York 10019
                                Telephone: (212) 728-8000
                                Facsimile: (212) 728-8111
                                dsinclair@willkie.com
                                mfeldman@willkie.com
                                bfeldman@willkie.com
                                jbrandt@willkie.com

                                Proposed Co-Counsel to the Debtors
                                and Debtors in Possession




                                         8
